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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

RANDALL LYKINS,                                  )
                                                 )
                              Plaintiff,         )
                                                 )
v.                                               )   Case No. 11-CV-2133-JTM/DJW
                                                 )
CERTAINTEED CORPORATION and                      )
SAINT-GOBAIN CORPORATION,                        )
                                                 )
                              Defendants.        )

                                  CERTIFICATE OF SERVICE

        This is to certify that on the 21st day of October, 2011, Defendant Certainteed’s

Objections and Responses to Plaintiff’s Notice of 30(B)(6) Deposition of Certainteed

Corporation and Request for Production Of Documents were sent via electronic mail to:

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        Attorneys for Plaintiff




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                                            Respectfully Submitted,

                                            /s/ Amy M. Fowler
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies on the 21st day of October, 2011, a copy of the above
and foregoing was served via the Court’s ECF Notification to:

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